            Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 1 of 11



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United States District Court
Southern District of New York                                    7:19-cv-11469

Jennifer Lopez-Barnett, individually and on
behalf of all others similarly situated,
                                Plaintiff,

                  - against -                               Class Action Complaint

Trader Joe's Company,
                                Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.      Trader Joe's Company (“defendant”) manufactures, distributes, markets, labels and

sells corn flakes under their Trader Joe's brand (“Products”).

       2.      The Products are available to consumers from defendant's retail stores and are sold

in boxes of 12 OZ (340g).

       3.      The relevant front label representations include “Organic Corn Flakes,” “Fat Free,”



                                                 1
            Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 2 of 11



“2g Sugar Per Serving,” “Excellent Source of 6 B Vitamins” and pictures of fresh raspberries and

blueberries in a bowl of corn flakes with milk. on top of and around a heaping bowl of the product.




       4.     The ingredient list on the side panel states:

                                                  INGREDIENTS:     ORGANIC      MILLED
                                                  CORN, ORGANIC EVAPORATED CANE
                                                  JUICE, SEA SALT, ORGANIC BARLEY
                                                  MALT EXTRACT, MIXED TOCOPHEROLS
                                                  (VITAMIN E) ADDED TO PRESERVE
                                                  FRESHNESS. VITAMINS & MINERALS:
                                                  FERRIC    ORTHOPHOSPHATE       (IRON
                                                  SOURCE),     SODIUM       ASCORBATE
                                                  (VITAMIN C), VITAMIN A ACETATE,
                                                  NIACINAMIDE (A B VITAMIN), ZINC
                                                  OXIDE (ZINC SOURCE), FOLIC ACID (A B
                                                  VITAMIN),          CYANOCOBALAMIN
                                                  (VITAMIN B12), CHOLECALCIFEROL
                                                  (VITAMIN       D),       PYRIDOXINE
                                                  HYDROCHLORIDE        (VITAMIN     B6),
                                                  RIBOFLAVIN (VITAMIN B2), THIAMIN
                                                  MONONITRATE (VITAMIN B1).


                                                  2
               Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 3 of 11



I. Product is Misleading because Sugar is Disguised as “Evaporated Cane Juice”


          5.     Consumers expect ingredients on a product to be declared by their common or usual

name that describes their basic source, function and properties

          6.     Where an ingredient contains the term “juice,” consumers expect that ingredient to

be derived from a consumable fruit or vegetable.

          7.     In fact, “juice” is defined as “the aqueous liquid expressed or extracted from one or

more fruits or vegetables, purees of the edible portions of one or more fruits or vegetables, or any

concentrates of such liquid or puree.”1

          8.     Fruit and vegetable juices are consumed for their nutritive value as they contain many

vitamins and minerals.

          9.     “Evaporated cane juice,” according to the FDA, “suggest[s] that the ingredients are

made from or contain fruit or vegetable “juice” as defined in 21 CFR 120.1.”2

          10.    However, “evaporated cane juice” has little in common with the types of juices that

Americans consume because it is another name for the ingredient commonly known as “sugar.”

          11.    The FDA concluded that where an ingredient is described as “evaporated cane juice,”

consumers can be, and are misled because “cane juice” refers to a sweetener.

          12.    By declaring “sugar” by a term which fails to truthfully and non-deceptively describe

the source, function and qualities of the ingredient, reasonable consumers are deceived into

purchasing a product with added sugar as its second most predominant ingredient.

          13.    Given that the Product is marketed as a standard, no frills corn flakes, and are shown

being consumed with fresh raspberries and blueberries, consumers will expect that “evaporated



1
    21 C.F.R. § 120.1(a).
2
    FDA Guidance, Ingredients Declared as Evaporated Cane Juice (May 2016)


                                                       3
            Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 4 of 11



cane juice” bears a relationship to actual fruit, including those prominently displayed and is

certainly not the equivalent of sugar.

       14.    This results in the impression that the Products are a better nutritional choice than

other comparable products which truthfully and non-deceptively identify “sugar” as their second

most predominant ingredient.

       15.    The Product’s deceptive labeling is especially egregious because defendant is a

grocery store with a reputation for selling health food products of high nutritional quality.

       16.    A growing number of consumers, including plaintiff, are paying more attention to

the ingredients contained in the foods they eat and are shunning excess, added sugars due to their

association and contribution to ailments and conditions like coronary heart disease, obesity and

diabetes.


II. Conclusion


       17.    The misleading terms used on the Products have a material bearing on price and/or

consumer acceptance because they will pay more for products with the positive qualities associated

with actual fruit juice, including naturally occurring vitamins and minerals.

       18.    Had plaintiff and class members known the truth about the Products, they would not

have bought the Product or would have paid less for it.

       19.    The Products contain other representations which are misleading and deceptive.

       20.    As a result of the false and misleading labeling, the Products are sold at premium

prices, approximately no less than $3.29 per 12 OZ, excluding tax – compared to other similar

products represented in a non-misleading way.

                                         Jurisdiction and Venue




                                                   4
            Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 5 of 11



        21.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

        22.   Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

        23.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        24.   This is a reasonable assumption because defendant’s Product is sold in thousands of

stores across all 50 states.

        25.   Plaintiff Jennifer Lopez-Barnett is a citizen of New York.

        26.   Defendant Trader Joe's Company is a California corporation with a principal place

of business in Monrovia, Los Angeles County, California and is a citizen of California.

        27.   This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        28.   Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        29.   A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                   Parties

        30.   Plaintiff Jennifer Lopez-Barnett is a citizen of Westchester County, New York.

        31.   Defendant is a California corporation with a principal place of business in Monrovia,

California, Los Angeles County and is a citizen of California.

        32.   During the class period, plaintiff purchased one or more of the Products identified

herein, in his or her district and/or state, for personal use, consumption or application based on the


                                                   5
           Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 6 of 11



above representations, for no less than the price indicated, supra, excluding tax,

       33.    Plaintiff would consider purchasing the Product again if there were assurances that

the Product’s representations were no longer misleading.

                                          Class Allegations


       34.    The classes will consist of all consumers in New York and the other 49 states and a

nationwide class where applicable.

       35.    Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if plaintiff and class members are

entitled to damages.

       36.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same representations.

       37.    Plaintiff is an adequate representative because his or her interests do not conflict with

other members.

       38.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       39.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.

       40.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       41.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                          New York General Business Law (“GBL”) §§ 349 & 350

       42.    Plaintiff asserts causes of action under the consumer protection statutes of New York,

General Business Law (“GBL”) §§ 349 & 350.



                                                  6
          Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 7 of 11



       43.      Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       44.      Plaintiff and class members desired to purchase products which were as described

by defendant and expected by reasonable consumers, given the product type.

       45.      Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       46.      Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain the identified ingredient that

contributes only sweetness and calories to the Product.

                                         Negligent Misrepresentation

       47.      Plaintiff incorporates by reference all preceding paragraphs.

       48.      Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products through misrepresenting the amount, type, quantity

and/or proportion of the sweetening ingredient.

       49.      Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Product and its components and ingredients, and knew or should have known same were false or

misleading.

       50.      This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       51.      The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       52.      Plaintiff and class members reasonably and justifiably relied on these negligent




                                                   7
            Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 8 of 11



misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       53.    Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

             Breaches of Express Warranty, Implied Warranty of Merchantability and
                   Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       54.    Plaintiff incorporates by reference all preceding paragraphs.

       55.    Defendant manufactures and sells products which contain the identified ingredient

that contributes only sweetness and calories to the Product, which is desired by consumers.

       56.    The Products warranted to Plaintiff and class members that they possessed

substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not due to the presence or absence of the aforementioned ingredient.

       57.    Defendant’s ingredient list informed and warranted to Plaintiff the Product contained

a form of juice instead of sugar.

       58.    Defendant had a duty to disclose and/or provide a non-deceptive description and

identification of the Product and its ingredients.

       59.    This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       60.    Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       61.    The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       62.    Plaintiff and class members relied on defendant’s claims, paying more than they

would have.



                                                     8
           Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 9 of 11



                                                Fraud


       63.    Plaintiff incorporates by references all preceding paragraphs.

       64.    Defendant’s purpose was to sell a product which purported to contained basic sugar

but identify them as containing “evaporated cane juice,” a healthier sounding yet misleading name.

       65.    Defendant’s fraudulent intent is evinced by its failure to accurately indicate the

Products contained less of the desired ingredients or none at all.

       66.    Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                            Unjust Enrichment

       67.    Plaintiff incorporates by reference all preceding paragraphs.

       68.    Defendant obtained benefits and monies because the Product were not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                   Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

       as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

       and disgorgement for members of the State Subclasses pursuant to the consumer protection

       laws of their States;



                                                  9
         Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 10 of 11



   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

      to the common law and consumer protection law claims, and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: December 14, 2019
                                                              Respectfully submitted,

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                                              10
          Case 7:19-cv-11469-CS Document 1 Filed 12/14/19 Page 11 of 11



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Southern District of New York

Jennifer Lopez-Barnett, individually and on behalf of all others similarly situated,


                                         Plaintiff,


        - against -


Trader Joe's Company,
                                          Defendant




                                   Class Action Complaint




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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: December 14, 2019
                                                                          /s/ Spencer Sheehan
                                                                           Spencer Sheehan
